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10   UNITED STATES OF AMERICA

11
                              UNITED STATES DISTRICT COURT
12
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                  No. CR 21-00485-DSF-1
14
                 Plaintiff,                     STIPULATION NOS. 1 THROUGH 7
15
                      v.                        Trial Date:     March 7, 2023
16                                              Time:           9:00 a.m.
     MARK RIDLEY-THOMAS,                        Place:          Courtroom of the
17                                                              Hon. Dale S. Fischer
                 Defendant.
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21         Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorneys Lindsey Greer Dotson
24   and Thomas F. Rybarczyk, and defendant MARK RIDLEY-THOMAS, both
25   individually and by and through his counsel of record Galia Z. Amram,
26   Daralyn J. Durie, and Ramsey W. Fisher, hereby submit stipulation
27   numbers 1 through 7 for the above-captioned case.
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1          The parties agree that these stipulations may be marked as

2    exhibits, admitted and displayed at trial, and provided to the jury

3    during their deliberations.

4

5     Dated: December 19, 2022            Respectfully submitted,

6                                         E. MARTIN ESTRADA
                                          United States Attorney
7
                                          SCOTT M. GARRINGER
8                                         Assistant United States Attorney
                                          Chief, Criminal Division
9

10
                                          LINDSEY GREER DOTSON
11                                        THOMAS F. RYBARCZYK
                                          Assistant United States Attorneys
12
                                          Attorneys for Plaintiff
13                                        UNITED STATES OF AMERICA

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15
      Dated: ________________
16                                        Defendant MARK RIDLEY-THOMAS

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18
      Dated:
19                                        GALIA Z. AMRAM

20                                        Attorney for Defendant
                                          MARK RIDLEY-THOMAS
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          December 16, 2022
     Case 2:21-cr-00485-DSF Document 127 Filed 12/19/22 Page 4 of 11 Page ID #:1178



1          The parties agree that these stipulations may be marked as

2    exhibits, admitted and displayed at trial, and provided to the jury

3    during their deliberations.

4

5     Dated:                              Respectfully submitted,

6                                         E. MARTIN ESTRADA
                                          United States Attorney
7
                                          SCOTT M. GARRINGER
8                                         Assistant United States Attorney
                                          Chief, Criminal Division
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10
                                          LINDSEY GREER DOTSON
11                                        THOMAS F. RYBARCZYK
                                          Assistant United States Attorneys
12
                                          Attorneys for Plaintiff
13                                        UNITED STATES OF AMERICA

14

15
      Dated: ________________
16                                        Defendant MARK RIDLEY-THOMAS

17

18
      Dated: December 19, 2022
19                                        GALIA Z. AMRAM

20                                        Attorney for Defendant
                                          MARK RIDLEY-THOMAS
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1                                   STIPULATION NO. 1

3                            Re: The County of Los Angeles

4                                      [Exhibit 801]

5          The parties hereby stipulate and agree that the following facts

6    are now conclusively established:

7          The County of Los Angeles (“County”) was a local government that

8    received benefits in excess of $10,000 under a Federal program

9    involving a grant, contract, subsidy, loan, guarantee, insurance, or

10   other form of Federal assistance in each of the calendar years 2017

11   and 2018.

12         The Los Angeles County Board of Supervisors (“Board of

13   Supervisors”) is the governing body of the County.           The Board of

14   Supervisors has five members.        Each member is elected by voters in

15   their respective districts and can serve up to three four-year terms.

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1                                   STIPULATION NO. 2

3                          Re: Defendant MARK RIDLEY-THOMAS

4                                      [Exhibit 802]

5          The parties hereby stipulate and agree that the following facts

6    are now conclusively established:

7          Defendant MARK RIDLEY-THOMAS was a member of the Los Angeles

8    County Board of Supervisors (“Board of Supervisors”) for the Second

9    District from approximately 2008 to 2020.

10         As a member of the Board of Supervisors, defendant MARK RIDLEY-

11   THOMAS was a public official employed by the County of Los Angeles

12   (“County”) and an agent of the County.         In his capacity as a public

13   official and agent of the County, defendant MARK RIDLEY-THOMAS owed a

14   fiduciary duty to the citizens of the County.

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1                                   STIPULATION NO. 3

3           Re: The University of Southern California and Marilyn Flynn

4                                      [Exhibit 803]

5          The parties hereby stipulate and agree that the following facts

6    are now conclusively established:

7          The University of Southern California (“USC”) is a private

8    research university in Los Angeles, California.           USC was located

9    within the Second District when defendant MARK RIDLEY-THOMAS was a

10   member of the Los Angeles County Board of Supervisors for the Second

11   District.

12         Marilyn Flynn was a tenured faculty member at USC and dean of

13   the USC Suzanne Dworak-Peck School of Social Work from approximately

14   1997 to 2018.

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1                                   STIPULATION NO. 4

3                                 Re: Telephone Numbers

4                                      [Exhibit 804]

5          The parties hereby stipulate and agree that the following facts

6    are now conclusively established:

7          The telephone numbers ending in 1405 and 2222 belonged to and

8    were used by                                      in 2017 and 2018.

9          The telephone number ending in 0342 belonged to and was used by

10                                in 2017 and 2018.

11         The telephone numbers ending in 8311, 3873, and 2959 belonged to

12   and were used by                     in 2017 and 2018.

13         The telephone number ending in 8391 belonged to and was used by

14                 in 2017 and 2018.

15         The telephone number ending in 2016 belonged to and was used by

16                       in 2017 and 2018.

17         The telephone number ending in 8522 belonged to and was used by

18                in 2017 and 2018.

19         The telephone number ending in 6057 belonged to and was used by

20                in 2017 and 2018.

21         The telephone number ending in 3878 belonged to and was used by

22                 in 2017 and 2018.

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1                                   STIPULATION NO. 5

3                             Re: Authenticity of Records

4                                      [Exhibit 805]

5          The parties hereby stipulate and agree that the following facts

6    are now conclusively established:

7          Documents Bates-stamped USAO_000001 to USAO_390629 and

8    MRT_000001 to MRT_004574 are true and accurate copies of authentic

9    records.    The parties do not dispute the authenticity of the records.

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1                                    STIPULATION NO. 6

3                                       Re: Mailings

4                                      [Exhibit 806]

5           The parties hereby stipulate and agree that the following facts

6     are now conclusively established:

7           All mailings charged in the Indictment -- specifically, in

8     Counts Four and Five of the Indictment -- traveled in the mail and

9     were delivered by an interstate mail carrier, namely, FedEx.

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1                                    STIPULATION NO. 7

3                                  Re: Interstate Wires

4                                      [Exhibit 807]

5           The parties hereby stipulate and agree that the following facts

6     are now conclusively established:

7           All wire communications charged in the Indictment --

8     specifically, in Counts Six through Twenty of the Indictment --

9     traveled in interstate commerce, in other words, between one state

10    and another.

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